                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION


DAVID DUVALL,                                        )
                                                     )
                       Plaintiff,                    )
                                                     )
       v.                                            )
                                                     )   Civil Action No. 3:19-cv-624-DSC
NOVANT HEALTH, INC.,                                 )
                                                     )
                       Defendant.                    )
                                                     )


         DEFENDANT NOVANT HEALTH, INC.’S MOTION FOR SANCTIONS

       COMES NOW Defendant Novant Health, Inc. (“Novant Health”), by and through its

counsel, and respectfully files this Motion for Sanctions and requests the Court to issue sanctions

against Plaintiff and Plaintiff’s counsel pursuant to its inherent authority to sanction parties and

counsel for certain bad faith conduct.

       1.      Under controlling Supreme Court and Fourth Circuit precedent, a court may

exercise its inherent power to sanction when a party or counsel willfully disobeys a court order

or when a party acts in bad faith, vexatiously, wantonly, or for oppressive reasons. See Chambers

v. NASCO, Inc., 501 U.S. 32, 44-46, 111 S. Ct. 2123, 2126 (1991) and Strag v. Bd. of Trustees,

Craven Cmty. Coll., 55 F.3d 943, 955 (4th Cir. 1995).

       2.      Plaintiff and Plaintiff’s counsel displayed a pattern of misconduct throughout the

trial that warrants the imposition of sanctions, including (1) deliberately referencing improper

comparator evidence to support an unfounded “pattern” of discrimination, in direct violation of

the Court’s orders; (2) telling the jury “round one for punitive damages” was that Novant Health

had a witness fired to prevent him from testifying for Plaintiff, despite receiving three sworn

declarations uniformly confirming the witness was terminated as part of a position elimination



         Case 3:19-cv-00624-DSC Document 130 Filed 02/01/22 Page 1 of 4
and the decision makers did not even know he was testifying; and (3) repeatedly referencing

“diversity bonuses,” “targets” and “quotas” when arguing Plaintiff was improperly terminated to

further diversity initiatives where the uncontroverted evidence established that no such bonuses,

targets or quotas even existed during Plaintiff’s employment.

       3.      Plaintiff and Plaintiff’s counsel’s misconduct, which is further described in

Novant Health’s Memorandum in Support of this Motion, presents a textbook example of when

sanctions pursuant to the Court’s inherent authority are both warranted and necessary to protect

the integrity of the judicial process and to deter similar inappropriate conduct in the future.

       For the reasons set forth above, and those set forth in Novant Health’s Memorandum in

Support of this Motion, Novant Health respectfully requests that the Court grant its Motion for

Sanctions and issue such sanctions as it deems appropriate, including dismissal of this action

with prejudice, an award of attorneys’ fees to Novant Health for bringing this motion, and/or

such other relief the Court deems just and proper. Novant Health further request that the Court

schedule oral argument on this Motion.

       (Signature block appears on the next page.)




                                     2
         Case 3:19-cv-00624-DSC Document 130 Filed 02/01/22 Page 2 of 4
Dated this 1st day of February, 2022.


                                        s/ Benjamin R. Holland
                                        Benjamin R. Holland
                                        N.C. Bar No. 28580
                                        ben.holland@ogletree.com
                                        Margaret Santen
                                        N.C. Bar No. 52947
                                        maggie.santen@ogletree.com
                                        Elizabeth R. Gift
                                        N.C. Bar No. 44331
                                        elizabeth.gift@ogletree.com
                                        S. Abigail Littrell
                                        N.C. Bar No. 49354
                                        abby.littrell@ogletree.com

                                        OGLETREE, DEAKINS, NASH, SMOAK &
                                        STEWART, P.C.
                                        201 South College Street, Suite 2300
                                        Charlotte, North Carolina 28244
                                        Telephone:     704.342.2588
                                        Facsimile:     704.342.4379
                                              and
                                        Charles E. Johnson
                                        N.C. Bar No. 9890
                                        cejohnson@robinsonbradshaw.com
                                        Stephen M. Cox
                                        N.C. Bar No. 23057
                                        scox@robinsonbradshaw.com
                                        Angelique R. Vincent-Hamacher
                                        N.C. Bar No. 29547
                                        avincent@robinsonbradshaw.com

                                        ROBINSON, BRADSHAW & HINSON, P.A.
                                        101 North Tryon Street, Suite 1900
                                        Charlotte, North Carolina 28246
                                        Telephone: 704.377.2536
                                        Facsimile: 704.373.3996

                                        Attorneys for Defendant Novant Health, Inc.




                             3
 Case 3:19-cv-00624-DSC Document 130 Filed 02/01/22 Page 3 of 4
                               CERTIFICATE OF SERVICE

       I, Benjamin R. Holland, hereby certify that I have this day electronically filed the

foregoing DEFENDANT NOVANT HEALTH, INC.’S MOTION FOR SANCTIONS with

the Clerk of Court using the CM/ECF system, which will send notification of the filing to the

following person:


       S. Luke Largess
       Attorney for Plaintiff
       Tin, Fulton, Walker & Owen, PLLC
       301 East Park Avenue
       Charlotte, NC 28203
       Telephone: 704.338.1220
       Facsimile: 704.338.1312
       Email: llargess@tinfulton.com

       Dated this 1st day of February, 2022.



                                        s/ Benjamin R. Holland
                                        Benjamin R. Holland, N.C. Bar No. 28580
                                        Attorney for Defendant
                                        OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
                                        201 South College Street, Suite 2300
                                        Charlotte, NC 28244
                                        Telephone: 704-342-2588
                                        Facsimile: 704-342-4379
                                        Email: ben.holland@ogletree.com




                                    4
        Case 3:19-cv-00624-DSC Document 130 Filed 02/01/22 Page 4 of 4
